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                                                            FILED
                                                            April 3, 2025
                                                         KAREN MITCHELL
                                                       CLERK, U.S. DISTRICT
                                                             COURT
                                                          324-BK




 April 3, 2025
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 UNITED STATES OF AMERICA
                                                     3:25-MJ- 324-BK
 v.

 ROBERT WILSON KING

              AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Brant L. Doddy, being first duly sworn, hereby depose and state as follows:

                                           Introduction

       1.      As set forth in further detail below, there is probable cause to believe that

on or about March 29, 2025, Robert Wilson King, posted a message on Facebook

threatening to shoot and kill any ICE agents he sees in his neighborhood. This threat

followed a string of violent social media posts by King and an admission that his rhetoric

was growing more violent.

                                     Affiant’s Background

       2.      I am a Special Agent with the Texas Department of Public Safety and have

been since January 1, 2008. I have a total of 26 years in law enforcement to include eight

years as a Texas Highway Patrol State Trooper. I have experience in investigating

Motorcycle and Criminal Street Gangs, Narcotics Trafficking, Cargo Theft, and Motor

Vehicle Theft. For the past seven years, I have been assigned to the FBI Dallas office as

a Task Force Officer to investigate domestic terrorism cases, with a focus on anti-

government and anti-authority violent extremists.




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       3.      The information contained in this affidavit is based on, among other things,

my personal knowledge and observations during the course of this investigation;

information conveyed to me by other agents and members of the FBI, the public, other

government agencies and officials (including state and local law enforcement), and

security researchers; and my review of records, documents, and other evidence obtained

during this investigation. This affidavit is intended to show only that there is sufficient

probable cause for the requested complaint and arrest warrant and does not set forth all of

my knowledge about this matter.

                                         Applicable Law

       4.      Pursuant to 18 U.S.C. § 875(c), “[w]hoever transmits in interstate or

foreign commerce any communication containing any threat … any threat to injure the

person of another, shall be fined under this title or imprisoned not more than five years,

or both.”

                                         Probable Cause

       5.      On or about March 29, 2025, the FBI received a tip from an individual

known to me (“Individual #1), that King had posted online threats towards Texas

Governor Greg Abbott, U.S. Secretary of Homeland Security Kristi Noem, and agents

from U.S. Immigration and Customs Enforcement (“ICE”).

       6.      Individual #1 reported that he confronted King about the Facebook posts,

specifically King’s threat to shoot ICE agents on sight. Individual #1 reported that King

confirmed not only that he had made the post, but that he was serious about his

willingness to kill ICE agents, and that he had no remorse for doing so.


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          7.      Individual #1 reported that King was living at a private residence in the

Dallas Division of the Northern District of Texas on the date that King made the post

threatening ICE agents. Individual #1 reported that King’s primary communication

device is an Apple iPhone 15, and that it was the only electronic device that he had seen

King use. I know that Apple iPhones are not manufactured in the state of Texas and that

an iPhone found in Texas has travelled in interstate commerce.

          8.      Individual #1 reported that after he confronted King, that King was no

longer living at the private residence, that King had nowhere to live, and that King was

presumably living out of his vehicle.

          9.      I have reviewed screenshots of King’s public Facebook account captured

by law enforcement personnel and have personally reviewed the publicly available

contents of King’s Facebook account. I know that Facebook is a social media site owned

and operated by Meta Platforms, Inc., which is headquartered at 1 Meta Way, Menlo

Park, California 94025.

          10.     Below, I have included a screenshot of King’s Facebook post threatening

ICE agents, which states, “If I see ICE agents in my neighborhood I’m opening fire. It’s

time to stop being p****** 1 and put the second amendment to work. ICE are not real

cops, they are a secret police force with no real legal authority. Kill them.”




1
    The actual word used has been redacted here and in the screenshot below.


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                                                        redacted




       11.     As demonstrated above, when this screenshot was made, King listed his

name as “Rob King” in his Facebook Profile (https://www.facebook.com/Robsaintking).

As shown in the screenshot below, as of the date of this affidavit, King’s post about

opening fire and killing ICE agents has been deleted or removed from the public’s view

on Facebook, and King’s profile name has been changed to “Rob Gutierrez.”




       12.     King’s Facebook profile has a link to an Instagram account. Below is a

screenshot from a post from that Instagram account in which it appears that King

“double[s] down” about shooting ICE agents, and threatens family members that “there

will be hell to pay” if they are stalking his page and feeding information about his posts

to anyone, including, presumably law enforcement:




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       13.     On or about April 2, 2025, King was arrested pursuant to a warrant issued

by a Kaufman County Justice of the Peace for Terroristic Threat, in violation of Texas

Penal Code 22.07, a third-degree felony.



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       14.     King is currently being held in the Kaufman County Sheriff’s Office –

Detention Facility and his bond has been set at $7,500.

       15.     King’s Facebook account also contains posts desiring violence against

Governor Abbott and Secretary Noem.




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       16.     King recently stated on Facebook that he “ha[s] no respect for law

enforcement” and acknowledged that his “rhetoric is growing increasingly more violent.”




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                                           REDACTED




       17.     I have set forth additional examples of King’s anti-government, anti-law

enforcement, and violent rhetoric on Facebook below:




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       18.     On or about February 28, 2025, King posted on Instagram his belief that the

President is “a traitor to our country and interests” and “demand[ed] he be put to death.”

King appended this post, stating, “I don’t give a fuck anymore, give me the gun I’ll pull

the trigger myself. Come get me FBI. Fuck this country.”




                                            Conclusion

       19.     Based on my training and experience and the facts as set forth in this

affidavit, I submit that there is probable cause to believe that on or about March 29, 2025,

in the Northern District of Texas, Dallas Division, Robert Wilson King knowingly



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